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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 07-cv-00729-RPM


DUANE ROBERTSON,

       Plaintiff,

v.

THE AVATAR GROUP, INC., an Ohio corporation;
INTELLINETICS, INC., an Ohio corporation;
A. MICHAEL CHRETIEN, individually; and
MATTHEW L. CHRETIEN,

       Defendants.


        UNOPPOSED MOTION FOR ADDITIONAL ENLARGEMENT OF TIME


       Pursuant to D.C.COLO. LCivR 6.1 and Fed. R. Civ. P. 6(b)(1)(A), Defendants The

Avatar Group, Inc., Intellinetics, Inc., A. Michael Chretien, and Matthew L. Chretien request an

additional enlargement of time, to and including March 10, 2008, within which to file their

response to the Plaintiff’s motion for partial summary judgment. As grounds, Defendants state:

       1.      Undersigned counsel certifies that he conferred with opposing counsel in

accordance with D.C.COLO.LCivR 7.1A and was advised that the Plaintiff does not oppose the

requested enlargement of time.

       2.      The parties have reached a settlement of this case as set forth in “Plaintiff’s

Notice of Settlement.” (Doc. 31). The settlement terms are memorialized in e-mails between

counsel, and a more formal written agreement settlement agreement is to follow. Once signed,

the settlement agreement will result in a stipulation for dismissal of this case with prejudice.




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       3.      Undersigned counsel is responsible for drafting the written agreement to be

signed by the parties, as well as the Defendants’ response to Plaintiff’s motion for partial

summary judgment. The response was initially due by February 23, 2008, but Defendants

obtained an enlargement of time to and including February 25, 2008. (Docs. 29-30). The

settlement was reached on February 22, 2008.

       4.      Undersigned counsel submits, and Plaintiff’s counsel concurs, that it is more

appropriate and efficient to work on drafting the settlement agreement instead of summary

judgment matters. The signed settlement agreement and resulting dismissal of this action with

prejudice would of course render moot the parties’ competing summary judgment motions.

       5.      Counsel reasonably believes the settlement agreement can be finalized and

signed, and a stipulation for dismissal filed, by March 7, 2008. If not, then under the

circumstances March 10, 2008 would be an appropriate date on which to file a response to the

motion for partial summary judgment if the need were to arise.

       6.      A copy of this Motion has been served on the Defendants and the Plaintiff’s

counsel in accordance with D.C.COLO.LCivR 6.1(E), as reflected on the attached certificate of

service.

       WHEREFORE, Defendants request that the Court grant this Motion and allow them an

additional enlargement of time, to and including March 10, 2008, within which to file their

response to Plaintiff’s motion for partial summary judgment.




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       Dated this 25th day of February, 2008.


                                            Respectfully submitted,



                                            s/ Randolph S. Dement
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                                            Greenwood Village, Colorado 80111
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                                            E-mail: rdement@dementlaw.com
                                            Attorney for Defendants




                               CERTIFICATE OF SERVICE

        I hereby certify that on February 25, 2008, I electronically filed the foregoing MOTION
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following e-mail addresses: Philip W. Bledsoe (pbledsoe@stklaw.com) and Nicole A.
Westbrook (nwestbrook@stklaw.com); and I hereby certify that I have served the document to
the following non-CM/ECF participants in the manner indicated by the non-participants’ names:

The Avatar Group, Inc.
Intellenetics, Inc.
A. Michael Chretien
Matthew L. Chretien
2190 Dividend Drive
Columbus, Ohio 43228-3806
(all by mail)



                                            s/ Randolph S. Dement
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                                            Attorney for Defendants



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